 Case 1:18-cv-01350-CFC Document 24 Filed 04/05/19 Page 1 of 2 PageID #: 181



                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF DELAWARE


VIRTUAL IMMERSION
TECHNOLOGIES LLC,

                       Plaintiff,

       v.                                              C.A. No. 1:18-cv-01350-CFC

SURECOM CORPORATION NV,
d/b/a CAM4,

                       Defendant.


                             JOINT MOTION TO EXTEND STAY

       Plaintiff Virtual Immersion Technologies LLC (“Plaintiff”) and Defendant Surecom

Corporation NV, d/b/a CAM4 (“Defendant”, together with the Plaintiff, the “Parties”) hereby

notify the Court that the Parties are actively developing their agreement in principal that resolves

all matters in controversy between them in the above-captioned action. The Parties still expect to

jointly file a dismissal with prejudice of all claims between them, but need additional time, until

shortly after May 1, 2019.

       Accordingly, the Parties respectfully move (the “Motion”) for an extension to the stay,

granted by this Court’s Order of February 12, 2019 (D.I. 19), staying all pending proceedings

and deadlines between them, to be extended up to and including May 1, 2019. The Parties

request this extension stay, subject to the approval of the Court, not for any purposes of delay,

but so that they may finalize their settlement agreement and file dismissal papers without




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 Case 1:18-cv-01350-CFC Document 24 Filed 04/05/19 Page 2 of 2 PageID #: 182



incurring additional expenses. The requested extension stay should not disrupt the schedule in

this case as a Rule 16 conference has not been scheduled in this matter. 1

Dated: April 5, 2019

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                                                     Attorneys for Defendant,
                                                     Surecom Corporation NV, d/b/a CAM4



       SO ORDERED this _____ day of April, 2019.


                                              ___________________________________
                                              U.S. District Court Judge



   1
     Pursuant to Local Rule 7.1.1, the undersigned certify that on April 5, 2019, counsel for the
Parties met and conferred and agree to the relief sought in the Motion.
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